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_________________________________________________________________________________

                                                       SO ORDERED,



                                                       Judge Jason D. Woodard
                                                       United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
________________________________________________________________________________
                           UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF MISSISSIPPI
                             (ABERDEEN DIVISIONAL OFFICE)


IN RE:                                                           CASE NUMBER: 18-13868-JDW

DARRELL L. BRADLEY                                               CHAPTER 13
LATONYA PEGUES

         DEBTORS


      ORDER FOR RELIEF FROM STAY AND ABANDONMENT AND TO APPLY
                         INSURANCE PROCEEDS

         Considering the Motion for Relief from Stay and to Abandon and to Apply Insurance

Proceeds (#58) filed by AmeriCredit Financial Services, Inc. dba GM Financial (“Secured

Creditor”), the lack of opposition, and the certificate of service filed herein:

         IT IS ORDERED that the automatic stay is hereby lifted and terminated, even if this

proceeding is converted to one under another chapter, to permit Secured Creditor to receive the

insurance proceeds on its interest in the 2016 Hyundai Accent bearing Manufacturer's Serial

Number KMHCT4AE3GU117463 (“Vehicle”).

         IT IS FURTHER ORDERED that the Trustee shall abandon the Vehicle from the estate

pursuant to 11 U.S.C.§554(b).
                                                                                                    (JDW)
         IT IS FURTHER ORDERED that be allowed to apply the insurance proceeds and that
                                               ^ Secured Creditor
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any remaining balance of the above claim will be paid as all other unsecured claims; and/or

       IT IS FURTHER ORDERED that any order remain in effect regardless of conversion to

another Chapter.

                                     ##END OF ORDER##



Submitted by:


GREGORY J. WALSH
1027 Ninth Street
New Orleans, LA 70115
Telephone: 504-568-0517
Fax: (504) 568-0519
greg@sundmakerfirm.com
Attorneys for Secured Creditor
